    Case 18-70695-grs       Doc 22 Filed 02/12/19 Entered 02/12/19 09:52:27             Desc Notice
                                  of Sufficient Assets Page 1 of 1
                          UNITED STATES BANKRUPTCY COURT
                                     Eastern District of Kentucky
                                          Pikeville Division
                             Mailing Address: P.O. Box 1111, Lexington, KY 40588−1111

In re Justin Todd Trout
                                                         Case No. 18−70695−grs
      5721 KY Route 404
      David, KY 41616                                    Chapter: 7
 aka/dba: Justin T. Trout
 SSN/TID: xxx−xx−7803



Debtor(s)

                               NOTICE OF SUFFICIENT ASSETS

     It appeared from the schedules filed when this case was initiated that there were no assets
from which dividends could be paid to creditors and the notice of meeting of creditors so
indicated. It now appears that the payment of a dividend may be possible. Pursuant to Rule FED.
R. BANKR. P. 3002(c)(5) the last day for filing claims is fixed as 05/13/2019.
     In order to have his claim allowed so that he may share in any distribution from the estate, a
creditor must file a claim on or before the date as fixed by this notice. A proof of claim form may
be obtained at www.uscourts.gov/forms/bankruptcy−forms or at any Bankruptcy Clerk's office.




DATED: 2/12/19
                                                          By the court −

                                                         /s/ Gregory R. Schaaf
                                                         Gregory R. Schaaf
                                                         U.S. Bankruptcy Judge

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